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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
      PAUL SAPAN,                                             Case No.: 15-cv-00822 CJC (ASx)
11

12                    Plaintiff,
                                                              JUDGMENT
13            vs.
14
      PINNACLE SECURITY CA GP, INC., a
15
      Utah Corporation, PINNACLE
16
      SECURITY, LLC., a Utah Limited
17    Liability Company., BRIAN J. KARREN,
18    an individual, JOSEPH PRETLOW, an
      individual,
19

20                    Defendants.
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     ________________________________________________________________________________________________________

                                             FINAL JUDGMENT
     Case 8:15-cv-00822-CJC-AS             Document 25 Filed 01/28/16              Page 2 of 2 Page ID
                                                 #:107


                                                JUDGMENT
 1

 2
            The Court hereby ORDERS, ADJUDICATES and DECREES that final
 3

 4   judgment is for Plaintiff PAUL SAPAN against Defendants PINNACLE
 5
     SECURITY CA GP, INC., and PINNACLE SECURITY, LLC, jointly and
 6

 7   severally.
 8
            Defendants PINNACLE SECURITY CA GP, INC., and PINNACLE
 9

10
     SECURITY, LLC, jointly and severally, must pay Plaintiff PAUL SAPAN the sum

11   of Seven Thousand One Hundred and Nineteen Dollars and 65 cents ($ 7,119.65).
12

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14          IT IS SO ORDERED, ADJUDICATED AND DECREED.
15

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17   DATED: January 28, 2016
18

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                                                          _______________________________
21                                                        CORMAC J. CARNEY
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                                                          U.S. DISTRICT JUDGE
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     ________________________________________________________________________________________________________

                                             FINAL JUDGMENT
